  Case 1:19-cv-01480-RGA Document 6 Filed 09/18/19 Page 1 of 2 PageID #: 38




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE



SYMBOLOGY INNOVATIONS LLC,                      )
                                                )
                      Plaintiff,                )
                                                )   C.A. No. 1:19-cv-01480-RGA
       v.                                       )
                                                )
ONSOLVE, LLC,                                   )
                                                )
                      Defendant.                )


      PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL DEFENDANT WITH
                               PREJUDICE

       Plaintiff Symbology Innovations LLC hereby provides notice of voluntary dismissal of

all claims by Plaintiff against Defendant, Onsolve, LLC, with prejudice. Each party shall bear its

own costs, expenses, and attorneys’ fees.



Dated: September 18, 2019                           Respectfully submitted,



                                                    /s/Stamatios Stamoulis_______________
                                                    Stamatios Stamoulis (#4606)
                                                    Stamoulis & Weinblatt LLC
                                                    800 N. West Street, Third Floor
                                                    Wilmington, DE 19801
                                                    (302) 999-1540
                                                    stamoulis@swdlaw.com

                                                    Attorneys    for      Plaintiff   Symbology
                                                    Innovations LLC




                                                1
                               VOLUNTARY NOTICE FOR DISMISSAL
  Case 1:19-cv-01480-RGA Document 6 Filed 09/18/19 Page 2 of 2 PageID #: 39




                               CERTIFICATE OF SERVICE

       I hereby certify that on September 18, 2019, I electronically filed the above documents

with the Clerk of Court using CM/ECF which will send electronic notification of such filings to

all registered counsel.

                                                   /s/ Stamatios Stamoulis
                                                   Stamatios Stamoulis #4606


IT IS SO ORDERED.

_____________________________________
U.S. District Court Judge


Date: ____________________




                                              2
                             VOLUNTARY NOTICE FOR DISMISSAL
